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August 30, 2021

VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     Response to Government Letter dated August 18, 2021, Dkt. 320, United States v.
               Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan,

       I write in response to the government’s letter dated August 18, 2021, Dkt. 320, which

raises two issues.1

       Identities of Co-Conspirators

       The government first attempts to walk back its multiple concessions regarding disclosure

of the identities of the unnamed co-conspirators alleged in the S2 indictment.

       As this Court noted, Ms. Maxwell has on at least two occasions requested such

disclosure. Dkt. 317 at 12 n.1 (citing Dkt. 291 and Dkt. 293). Only after this Court ordered

disclosure of the identities of the unnamed co-conspirators alleged in the S2 indictment did the

government finally object. The government’s objection comes too late.




       1
          As directed by the Court, on August 24 the parties conferred about the government’s
letter, but they were unable to reach an agreement on the government’s requests for
reconsideration.
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       The government’s objection is, in substance, a motion to reconsider. “There is ‘no

specific rule, either in the Federal Rules of Criminal Procedure or in this district’s local criminal

rules that provide for reconsideration of a ruling in a criminal matter.’” United States v.

Okparaeke, No. 17-CR-225 (NSR), 2019 WL 4233427, at *2 (S.D.N.Y. Sept. 6, 2019) (quoting

United States v. Cartagena, No. 10 Cr. 222-2, 2012 WL 2958175, at *1 (S.D.N.Y. July 20,

2012)). Even so, courts have discretion to reconsider prior rulings in criminal cases when the

moving party can point to “controlling law or factual matters which it believes the court

overlooked and that might reasonably be expected to alter the court’s decision.” United States v.

Berger, 188 F. Supp. 2d 307, 328-39 (S.D.N.Y. 2002).

       But “[t]he standard for granting a motion for reconsideration ‘is strict.’” Farmer v.

United States, No. 12-CR-758/15-cv-6287 (AJN), 2017 WL 3448014, at *2 (S.D.N.Y. Aug. 10,

2017) (quoting Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012)).

That’s because “[r]econsideration of a court’s previous order is an ‘extraordinary remedy to be

employed in the interests of finality and conservation of scarce judicial resources.’” Montanile v.

Nat’l Broad. Co., 216 F. Supp. 2d 341, 342 (S.D.N.Y. 2002).

       The government cannot show extraordinary circumstances here. The government twice

had notice of Ms. Maxwell’s request for disclosure, and the government twice chose not to

object. The government cannot use a motion to reconsider to save itself from the consequences

of its deliberate decisions. “[A] losing party” is not permitted to “examin[e] a decision and then

plug[] in the gaps of a lost motion with additional matters.” Berger, 188 F. Supp. 2d at 339.

Because that is exactly what the government is attempting to do, this Court should deny the

government’s request. Ms. Maxwell is entitled to the disclosure this Court ordered.
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       Co-Conspirator Statements

       The government’s letter raises a second issue—disclosure of the purported co-conspirator

statements it intends to offer at trial. The government says that, at least as of August 18, it

intends to seek admission of co-conspirator statements from only two individuals: Jeffrey

Epstein and the employee of Epstein’s referenced in paragraph 25(d) of the S2 Indictment. Dkt.

320 at 2. But the government also hedges, allowing for the possibility that it might identify

“statements for use at trial from additional co-conspirators.” Id.

       Both in its August 18 letter and during an August 24 conferral call, the government took

the position that it has no obligation to identify the specific statements it intends to offer under

Federal Rule of Evidence 801(d)(2)(E). The government told defense counsel that Ms. Maxwell

could glean what statements might be offered from the government’s witness list and exhibit list,

once those lists are disclosed on October 11.

       This Court has already resolved this matter, and the government’s position is another

improper attempt to obtain reconsideration.

       After conferral, the parties spelled out their positions with respect to the disclosure of co-

conspirator statements and the identities of co-conspirators. Dkt. 291 at 5, 8-9. On June 2, this

Court ordered the government to disclose “co-conspirator statements” no later than October 11.

Dkt. 297 at 1. In the same order, the Court additionally ordered the government to disclose its

witness list and proposed exhibit list, also by October 11. Id. The Court then ordered the parties

to file their motions in limine by October 18 and responses by November 1.2




       2
           The in limine response date since has been advanced to October 25, 2021. Dkt. 330.
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       If disclosure of the witness and exhibit lists were by themselves sufficient to give Ms.

Maxwell notice of the specific co-conspirator statements the government intends to admit at trial,

this Court would not have separately ordered the government to disclose “co-conspirator

statements.” Id. But that’s not what the Court did.

       There are very good reasons for this. This Court serves as a gatekeeper to the admission

of alleged co-conspirator statements. The Supreme Court’s decision in Bourjaily v. United States

requires the Court to determine, by a preponderance of the evidence, whether statements of a co-

conspirator are admissible under Rule 801(d)(2)(E). 483 U.S. 171, 175-76 (1987). In making this

determination, the Court must find that a conspiracy existed, that its members included the

declarant and the party against whom the statement is offered, and that the statement was made

during the course of and in furtherance of the conspiracy. Bourjaily, 483 U.S. at 175.

       If the government does not disclose what co-conspirator statements it intends to offer, as

this Court already ordered the government to do by October 11, then Ms. Maxwell will be unable

to file a motion in limine by October 18 challenging the admissibility of the co-conspirator

statements and thereby put the government to its burden of proof and ensure this Court is able to

discharge its gatekeeping function. See Bourjaily, 483 U.S. at 175-76. Although the government

may not wish to give Ms. Maxwell the required notice, this Court has already entered its order.

       The government’s letter offers no reason, much less a compelling reason, for this Court to

reconsider its order. The government has not even attempted to identify “controlling law or

factual matters which it believes the court overlooked and that might reasonably be expected to

alter the court’s decision.” Berger, 188 F. Supp. 2d at 328-39. And that’s because the Court

didn’t overlook anything. The parties briefed this issue in their joint letter regarding pretrial
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scheduling deadlines, this Court considered the parties’ positions, and it made a decision. Dkt.

297 at 1. The government has offered nothing to justify reconsideration.

       Conclusion

       Ms. Maxwell asks this Court to confirm what it already ordered: (1) that the government

disclose the identities of the unnamed co-conspirators charged in the S2 indictment at the same

time it discloses Jenks Act material; and (2) that, no later than October 11, the government

disclose the specific co-conspirator statements it intends to admit at trial.



Respectfully Submitted,




Jeffrey S. Pagliuca

CC: Counsel of Record (via ECF)
